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                     EXHIBIT A
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Northern District of California

                  MAXIMILIAN KLEIN, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 5:20-cv-08570-LHK
                                                                              )
                       FACEBOOK, INC.                                         )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                        Jessica Layser c/o Keith Verrier, Levin Sedran & Berman LLP
                                              510 Walnut Street, Suite 500, Philadelphia, PA 19106
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Schedule A


 Place: Wilmer Cutler Pickering Hale and Dorr LLP c/o D. Gringer Date and Time:
          7 World Trade Center, 250 Greenwich St.                                                            10/08/2021 5:00 pm
          New York, New York 10007

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        09/17/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Sonal N. Mehta
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Facebook, Inc.
                                                                        , who issues or requests this subpoena, are:
Sonal N. Mehta, Wilmer Cutler Pickering Hale and Dorr LLP
2600 El Camino Real, Suite 400, Palo Alto, CA 94306, (650) 858-6000, Sonal.Mehta@wilmerhale.com
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:20-cv-08570-LHK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                          SCHEDULE A

                            SUBPOENA TO PRODUCE DOCUMENTS
                                    JESSICA LAYSER

                                          DEFINITIONS

     A.         “You” and “Your” include the person or entity to whom these commands to

produce documents are directed, as well as its owners, partners, principals, members, officers,

and directors, and all co-account holders, present or former representatives or agents, and any

person, including attorneys, acting on behalf of any of the foregoing.

     B.         “User Complaint” refers to the Amended Consolidated Consumer Class Action

Complaint filed in Klein v. Facebook, Inc., Case No. 5:20-cv-08570-LHK (N.D. Cal.), ECF

No. 87, by Maximilian Klein, Sarah Grabert, and Rachel Banks Kupcho (together the “User

Plaintiffs”).

     C.         “Advertiser Complaint” refers to the Amended Consolidated Advertiser Class

Action Complaint filed in Klein v. Facebook, Inc., Case No. 5:20-cv-08570-LHK (N.D. Cal.),

ECF No. 86, by Affilious, Inc., Jessyca Frederick, Mark Young, Joshua Jeon, 406 Property

Services, PLLC, Mark Berney, Katherine Loopers, and Zahara Mossman (together the

“Advertiser Plaintiffs”).

     D.         “Advertising Medium” refers to any and all advertising forms, channels, media, or

services including without limitation advertising on any online services (as defined below), any

digital advertising, any search advertising, and any television, radio, print, direct mail, and

billboard advertising.

     E.         “Relevant Time Period” is the period from January 1, 2003, to the present.

      F.        “Document” or “Documents” shall have the broadest meaning permitted under the

Federal Rules of Civil Procedure and relevant case law, and shall include without limitation all

written or graphic matter, whether stored, displayed, communicated, or transmitted, of every

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kind or description, however produced or reproduced, whether draft or final, original or

reproduction, including: electronically stored information, written Communications, letters,

memoranda of conversations, interoffice Communications, records, statistical and financial

statements, charts, graphs, reports, minutes, emails, voicemails, sound or video recordings of any

type, contracts, agreements, computer diskettes, CDs or DVDs, or material similar to any of the

foregoing, however denominated, by whomever prepared, and to whomever addressed, which

are in Your possession, custody or control or to which You have, have had or can obtain access.

     G.           The word “Communication” means any actual or attempted transmittal of

information (e.g., of facts, ideas, inquiries, or otherwise) regardless of form, including but not

limited to any content that you created, shared with, posted to, or any way provided or published

on any online services, as well as any other electronically stored information, and any oral,

written, email, letter, notes, telephone conversation, computer drop-down selection, etc.

     H.           “Concerning” means referencing, relating to, describing, evidencing, reflecting,

constituting, documenting, discussing, referring to, mentioning, analyzing, refuting, or recording.

      I.          “Facebook” means Facebook, Inc., and all persons or entities acting or having

acted on its behalf, including but not limited to its divisions, subsidiaries, holding companies,

predecessors, Facebook, Messenger, Instagram, WhatsApp, and any other related entity.

      J.          “Online services” means any public-facing internet website, web application,

digital application, or other service provided online in any form or by any method, including but

not limited to email or messaging services, and any news, ecommerce, entertainment, streaming

video, streaming audio, television, or gaming services, applications, or websites.

     K.           “Personal information” has the meaning provided by California Civil Code

§ 1798.140(o)(1).

     L.           The use of the singular herein shall be deemed to encompass the use of the plural

and vice versa.

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     M.         The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the commands all information that might

otherwise be construed as outside of their scope.

     N.         The term “any” includes “all” and “each,” and the term “all” includes “any,” and

the term “each” includes “every.”

     O.         To the extent these commands employ terms used in the complaints in this action,

such use is without prejudice to the rights of Facebook.

                                             INSTRUCTIONS

          1.    In answering each command, you are commanded to furnish all documents,

however held or obtained, that are in your possession, custody or control—including but not

limited to legal (de jure), actual (de facto), constructive, and practical possession, custody, or

control of your officers, directors, employees, contractors, counsel, auditors, insurers,

investigators, consultants, agents or other representatives acting for or on your behalf, or that are

maintained in your records, including, but not limited to, documents obtained through discovery

in this or any other litigation.

          2.    Each command that seeks documents relating in any way to communications to,

from, or within a governmental, business, or corporate entity means all communications to, from,

between, or among representatives, officers, officials, directors, employees, agents, servants, and

anyone acting on behalf of such entity.

          3.    Should you find the meaning of any term in these commands to be unclear, you

should assume a reasonable meaning, state what that assumed meaning is, and respond to the

command on the basis of that assumed meaning.


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       4.        If you object to any command or portion thereof on the ground that you contend

that it calls for a document that is privileged, falls within the work product doctrine, or is

otherwise protected from disclosure, provide a privilege log that complies with Federal Rule of

Civil Procedure 26(b)(5).

       5.        If you are withholding or intend to withhold any document (or any part of a

document) on the basis of an objection, state so in your response. If you note an objection but

indicate that responsive documents are nonetheless being produced, we will construe your

statement as a representation that you are producing all documents responsive to the command

notwithstanding the objection, save for any privileged documents that are identified on a

privilege log.

       6.        Each responsive document or information shall be produced in its entirety, and no

portion of any document or information shall be edited, cut, masked, redacted, or otherwise

altered, unless for applicable privilege logged according to the procedures set forth above.

       7.        All attachments to documents or information responsive to these commands shall

be produced with, and attached to, the responsive documents or information.

       8.        Produce all documents in electronic format. Convert or process all scanned paper,

email, and native file collections to TIFF files, and include fully searchable text (e.g., OCR) and

accompanying load files. Databases, Excels, and PowerPoints should also include linked native

files. Document images should include tracked changes, where applicable. Load files should

include, at a minimum, the following fields: BegBates (Beginning Bates number); EndBates

(Ending Bates number); BegAttach (Beginning Bates number of attachment(s)); EndAttach

(Ending Bates number of attachment(s)); Custodian; AllCustodians; From; To; CC; BCC;

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Subject; Date Sent; Time Sent; File Name; MD5HASH; MsgIndex; FolderLoc; DocType; Title;

Native Link; Text Link; Author; Date Created; Time Created; Date Last Modified; Time Last

Modified; File Size; File Extension; DateApptStart; DateApptEnd; and Conversation Index.

                           COMMANDS TO PRODUCE DOCUMENTS
COMMAND NO. 1.

       All documents concerning your reasons for using and/or advertising on Facebook, as

defined above.


COMMAND NO. 2.

       All documents concerning any and every Advertising Medium that you used, considered,

or evaluated during the Relevant Time Period, including but not limited to documents concerning

your reasons for using and/or advertising on those Advertising Mediums, documents concerning

your advertisement objectives and strategy or its implementation, and documents concerning any

targeted advertising you used, considered, or evaluated on Facebook or any other Advertising

Medium.


COMMAND NO. 3.

       All documents (including but not limited to any communications) concerning Facebook

(as defined above).


COMMAND NO. 4.

       All documents that support, refute, or otherwise relate to the claims or any allegations in

the User Complaint or Advertiser Complaint, including but not limited to documents that you

considered or relied on in drafting the Advertiser Complaint.

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COMMAND NO. 5.

       All documents constituting or concerning any communications about this action, the

subject matter of this action, or any of the allegations in the Advertiser Complaint.


COMMAND NO. 6.

       All documents that support, are referenced in, or that you consider in drafting any

responses to this subpoena.


COMMAND NO. 7.

       All documents constituting or concerning any agreements, arrangements, or

understandings with your counsel for the handling and prosecution of the above-captioned

action, including, without limitation, any engagement letter for or with your counsel in the

above-captioned action.


COMMAND NO. 8.

       All documents you received from any law firm or attorney seeking your participation in

the above-captioned action or in any action involving the same, or some of the same, subject

matter as the present action.


COMMAND NO. 9.

       All documents constituting or concerning any communication you have had with any

members or potential members of the putative classes alleged in the User Complaint or

Advertiser Complaint concerning this lawsuit, the subject matter of this lawsuit, or any of the


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allegations set forth in the User Complaint or Advertiser Complaint, including but not limited to

the User Plaintiffs or Advertiser Plaintiffs.


COMMAND NO. 10.

        All documents constituting or concerning any agreements between you and any members

or potential members of the putative classes alleged in the User Complaint or Advertiser

Complaint concerning this lawsuit or the subject matter of this lawsuit, including but not limited

to the User Plaintiffs or Advertiser Plaintiffs.


COMMAND NO. 11.

        All documents concerning any losses, damages, or injuries alleged in the Advertiser

Complaint or that you claimed to have sustained as a result of any act or practice that was a

subject of your claims in this action.


COMMAND NO. 12.

        All documents or communications that you have provided to, received from, exchanged

with, or had with any governmental entities or officials concerning this lawsuit or the subject

matter of this lawsuit, including but not limited to the Federal Trade Commission or any State

Attorneys General.


COMMAND NO. 13.

        For each advertising purchase you made or advertisement you placed during the Relevant

Time Period, all documents concerning the placement or purchase of the advertisement including

without limitation where the advertisement ran, how much you spent on the advertisement

(including inter alia per impression, per click, or total), the frequency on which the
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advertisement ran, the duration for which the advertisement ran, any parameters or criteria used

to target the advertisement (including whether the ad was targeted based on geography,

demographics, or other information), and all metrics concerning the advertisement’s performance

(including without limitation, views, conversion, engagement, etc.).


COMMAND NO. 14.

       All documents concerning your return on investment from any advertisements you

purchased from any source during the Relevant Time Period.


COMMAND NO. 15.

       All communications with any company, including Facebook, concerning its

advertisement products, advertisement services, or advertisement-related reporting metrics.


COMMAND NO. 16.

       Documents relating to pricing for advertisements during the Relevant Time Period,

including without limitation, documents concerning the relative price of advertising on Facebook

versus advertising on any Advertising Medium.


COMMAND NO. 17.

       All documents concerning the dismissal of your claims in the above-captioned action.




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